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IN THE UNITED STATES DISTRICT COURT = r l L E AY
FOR THE EASTERN DISTRICT OF VIRGINIA {:7 ! to

Richmond Division Ng SUL - 6 201
KYSS BURTON, BY HER MOTHER, SAKIA CUFT US, Bi a
HALL AS NEXT FRIEND AND SAKIA HALL, — . soared
Plaintiff,
v. Case No. 3:11-cv-00065-JRS
HAROLD FORD,
Defendant.

STIPULATION OF DISMISSAL

NOW COMES the parties, by counsel, and pursuant to Rule 41(a)(1) of the Federal Rules
of Civil Procedure, represent to the Court that they agree and stipulate that this action shall be
dismissed with prejudice, and that neither party shall be regarded as a prevailing party in this
action for any purpose, and that each party shall bear their own costs and attorney fees incurred
in this action.

IT TS SO ORDERED.

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/s/

By: James R. Spencer
Chief United States District J: -

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David ¥. Corrigan (VSB No. 26341) [ska

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CLERK, U.S. DISTRICT COURT
RICHMOND, VA

